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                         UNITED STATES DISTRICT COURT

                           DISTRICT OF SOUTH DAKOTA

                                WESTERN DIVISION

UNITED STATES OF AMERICA,                 )        CR. 08-50062-01-KES
                                          )
            Plaintiff,                    )
                                          )
    vs.                                   )                ORDER
                                          )
CURT ROMANYSHYN,                          )
a/k/a Constantine Romanyshyn,             )
                                          )
            Defendant.                    )


          Defendant Curt Romanyshyn moves this court to dismiss the

indictment because his rights under the federal speedy trial act were

violated. The United States opposes the motion. The motion is denied.

                           PROCEDURAL HISTORY

          On June 24, 2008, defendants Curt Romanyshyn, Shaun Michael

Huckaby, and Justin James Bickle were indicted by a federal grand jury.

Romanyshyn was arrested in North Dakota. He had his initial appearance

and arraignment before a federal magistrate in South Dakota on July 18,

2008. Bickle had his initial appearance on July 22, 2008. The court

entered a standing order scheduling a trial date of September 23, 2009.

          On August 18, 2008, Huckaby was arrested and he had an initial

appearance on August 20, 2008. On August 21, 2008, Bickle moved for a

continuance. On August 22, 2008, in light of Huckaby’s arrest and initial
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appearance just one day earlier, the court granted the motion for

continuance and scheduled a new trial date of October 28, 2008.

        After all three defendants were arrested, various motions were filed by

the three defendants. A description of each motion that was filed after

Huckaby’s arrest and the date of the court’s ruling on each motion follows:

  Docket      Date of Motion    Description                               Date of
                                                                          Court’s
                                                                          Ruling

   34           8/21/2008       MOTION for Continuance pursuant         08/22/2008
                                to 18:3161 by Justin Jam es Bickle

   40           8/21/2008       MOTION (Stipulation) to Substitute      08/28/2008
                                Attorney by Justin Jam es Bickle

   49          09/08/2008       Second MOTION for Continuance           09/16/2008
                                pursuant to 18:3161 by Justin
                                Jam es Bickle

   51          09/09/2008       First MOTION for Reconsideration        09/18/2008
                                of Pretrial Release by Shaun
                                Michael Huckaby

   52          09/12/2008       MOTION for Continuance pursuant         09/16/2008
                                to 18:3161 and CONSENT signed
                                by Shaun Michael Huckaby.

   57          09/23/2008       MOTION to W ithdraw as Attorney         09/23/2008
                                for Defendant Huckaby by George
                                E. Grassby. by Shaun Michael
                                Huckaby.

   63          11/17/2008       MOTION to Suppress Search by            12/26/2008
                                Justin Jam es Bickle

   65          11/17/2008       MOTION to Suppress Statem ents          12/26/2008
                                by Justin Jam es Bickle

   67          11/19/2008       MOTION to Seal Docum ent by             11/21/2008
                                Justin Jam es Bickle in support of
                                63 Motion to Suppress Search.

   68          11/19/2008       MOTION to Seal Docum ent in             11/21/2008
                                support 65 Motion to Suppress
                                Statements by Justin Jam es
                                Bickle.




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   69          11/20/2008        MOTION to Suppress Search by            12/26/2008
                                 Justin Jam es Bickle

   73          11/24/2008        MOTION to Extend Tim e To               11/24/2008
                                 Respond to Motion to Suppress by
                                 USA as to Justin Jam es Bickle.

   77          11/26/2008        MOTION IN LIMINE: by Curt               12/26/2008
                                 Rom anyshyn as to Curt
                                 Romanyshyn

   87          01/05/20009       MOTION for Jury List and                Still pending
                                 Questionnaires by Justin Jam es
                                 Bickle

   88          01/05/2009        MOTION for Continuance pursuant         01/08/2009
                                 to 18:3161 by Shaun Michael
                                 Huckaby

   89          01/06/2009        MOTION for Joinder to Defendant         01/08/2009
                                 Huckaby's Motion to Continue by
                                 Justin Jam es Bickle.

   90          01/06/2009        MOTION IN LIMINE: REGARDING             Still pending
                                 OTHER ACTS EVIDENCE by
                                 Justin Jam es Bickle.

   91          01/06/2009        MOTION IN LIMINE: REGARDING
                                 OTHER ACTS EVIDENCE                     Still pending
                                 (MARIJUANA) by Justin Jam es
                                 Bickle.

   92          01/06/2009        MOTION to Dismiss Grounds of
                                 Violation of Federal Speedy Trial       Still pending
                                 Act by Curt Rom anyshyn.

   94          01/06/2009        MOTION to Suppress Evidence by          03/05/2009
                                 Curt Romanyshyn


                                  DISCUSSION

         Romanyshyn contends that his trial date of March 31, 2009, is not

timely under the Speedy Trial Act of 1974, 18 U.S.C. §§ 3161-3174 (Act),

and therefore, his indictment should be dismissed. Section 3161(c)(1)

provides:

        In any case in which a plea of not guilty is entered, the trial of a
        defendant charged in an information or indictment with the

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      commission of an offense shall commence within seventy days
      from the filing date (and making public) of the information or
      indictment, or from the date the defendant has appeared before
      a judicial officer of the court in which such charge is pending,
      whichever date last occurs.

      The indictment filed against Romanyshyn, however, named him as a

defendant with two codefendants. “Pursuant to section 3161(h)(7), the

speedy trial clock does not begin to run until the date the last codefendant

makes an initial appearance, provided that this period of delay is

‘reasonable.’ ” United States v. Winfrey, 900 F.2d 1225, 1227 (8th Cir.

1990). Here, the period of delay until the third codefendant ( Huckaby) was

arrested was only 33 days after Romanyshyn’s initial appearance in South

Dakota. The court finds 33 days to be reasonable. Thus, Romanyshyn’s

speedy trial clock began running on August 20, 2008. From August 20,

2008, to the date of the trial, March 31, 2009, is 223 days.

      Section 3161(h) of the Act sets forth a list of various periods of delay

which are to be excluded when computing the 70-day count. Section

3161(h)(1)(F) excludes any “[p]eriods of delay caused by pretrial motions,

whether filed by the defendant, codefendants, or the prosecution[.]” United

States v. Shepard, 462 F.3d 847, 863 (8th Cir.2006). In a multi-defendant

case, this applies to motions filed by all the defendants. United States v.

Fuller, 942 F.2d 454, 457 (8th Cir. 1991), cert. denied, 502 U.S. 914, 112 S.

Ct. 315, 116 L. Ed. 2d 257 (1991). All pretrial motions toll the clock even if


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the motion does not in fact delay trial. United States v. Titlbach, 339 F.3d

692, 698 (8th Cir. 2003). As identified in the above chart, 20 pretrial

motions were pending for 136 days (excluding overlapping time periods

through today). Subtracting the 136 excludable days from the 223 total

pending days leaves a balance of 87 days.

      Section 3161(h)(8)(A) excludes time for continuances if the court finds

that the “ends of justice” so require. On September 16, 2008, the court

granted an 84-day continuance at the request of both Huckaby and Bickle

and specifically found that “the ends of justice” so required. The court found

that the period of delay resulting from the continuance was excluded under

§ 3161(h)(7), which provides for a reasonable period of delay when the

defendant is joined with a codefendant as to whom the time for trial has not

run. In addition, the court now finds that the ends of justice were served

based on the fact that one of the codefendants requested 60 additional days

because counsel was recently retained by defendant, had a conflict with

another trial, and needed to review discovery. The second codefendant

requested a 90-day continuance to locate witnesses, to complete the

investigations, and to prepare for trial. This case is complex with three

codefendants and a continuance was necessary to assure continuity of

counsel. The court also finds that a continuance of 84 days was reasonable

under the circumstances.


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      On January 8, 2009, the court granted a second continuance for 70

days at the request of Huckaby and Bickle. The court specifically found

that “the ends of justice” so required. The court again found that the period

of delay resulting from the continuance was excluded under § 3161(h)(7). In

addition, the court now finds that the ends of justice were served based on

the fact that defendants needed time to review the voluminous discovery

materials, locate possible witnesses, and prepare for trial. The court further

finds that a 70-day continuance was reasonable.

      The exclusions of the 84 days and the 70 days apply to Romanyshyn

despite his refusal to join in the motions for continuance. See United States

v. Fogarty, 692 F.2d 542, 546 (8th Cir. 1982). Section 3161(h)(7) of the Act

specifically addresses the application of exclusions to multiple defendant

cases such as this one. Id.

      Because some of the excludables from the codefendants’ continuance

motions overlaps the excludables from pending motions, the court has

calculated the net amount for the period when motions were not pending,

which is the time period of September 19 to November 17 and from

December 26 to January 5. As a result, 69 additional days of excludable

time should be deducted from the 87 remaining days leaving a balance of 18

days of non-excludable time that have elapsed between Huckaby’s

arraignment and the trial date of March 31, 2009. As a result, the


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commencement of Romanyshyn’s trial on March 31, 2009, was well within

the 70-day limit. Therefore, it is hereby

      ORDERED that defendant Romanyshyn’s motion to dismiss

(Docket 92) is denied.

      Dated March 19, 2009.

                               BY THE COURT:



                               /s/ Karen E. Schreier
                               KAREN E. SCHREIER
                               CHIEF JUDGE




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